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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          *
                                                  *
                   vs.                            *       Case No. 21-cr-0175-3 (TJK)
                                                  *
ZACHARY REHL                                      *
         Defendant                                *
                                                  *

                                               ooOoo

                     ZACHARY REHL’S MOTION TO REOPEN
                DETENTION HEARING AND REQUEST FOR A HEARING


               “In our society liberty is the norm, and detention prior to trial or
               without trial is the carefully limited exception.”

               The Bail Reform Act of 1984 authorizes one of those carefully limited
               exceptions by providing that the court “shall order” a defendant
               detained before trial if it “finds that no condition or combination of
               conditions will reasonably assure the appearance of the person as
               required and the safety of any other person and the community.” 18
               U.S.C. § 3142(e). . . . Thus, a defendant's detention based on
               dangerousness accords with due process only insofar as the district
               court determines that the defendant's history, characteristics, and
               alleged criminal conduct make clear that he or she poses a concrete,
               prospective threat to public safety.

United States v. Munchel, 991 F.3d 1273, 1279-80 (D.C. Cir. 2021), quoting United States v.

Salerno, 481 U.S. 739, 755 (1987).

       In this case, Mr. Rehl’s detention does not accord with due process. Mr. Rehl is a married

family man, with extensive ties to the community, who honorably served his country in the Marine

Corps and has no prior convictions for violent or serious conduct. On January 6, Mr. Rehl did not

engage in any violence, did not destroy any property, did not battle law enforcement officers, did not

remove barriers, did not possess any weapons and did not encourage or assist any one else to do any
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of those things. Thus, neither his background nor his alleged criminal conduct “make[s] clear that he

poses a concrete prospective threat to public safety” as Munchel requires. See also United States v.

Klein, 533 F. Supp.3d 1 (D. D.C. 2021)( Bates, J.) (releasing defendant who engaged in actual

violence based on defendant’s history and characteristics and not finding a prospective risk).

       The indictment and other records in this case show that Mr. Rehl

       #       did not force his way into the Capitol;

       #       did not tear down any fencing;

       #       did not steal or vandalize any property;

       #       did not toss water bottles at or battle law enforcement;

       #       did not physically harm any person;

       #       did not discuss a plan to attack the Capitol with any defendant;

       #       was not privy to any plan to attack the Capitol on January 6;

       #       entered the Capitol after the proceedings had been suspended and VP Pence had left
               the premises; and

       #       did not “call the shots” on January 6;

See Third Superseding Indictment (“TSI”) (ECF 380 at ¶¶ 61, 65, 81, 86, 87, 93, 105); Donohoe

Statement of Offense (ECF 336); other discovery as set out below.

       In ruling on the initial motion by the government to detain Mr. Rehl, the Court determined

that Mr. Rehl was a “lieutenant” rather than a leader (ECF 147 at ¶ 49); that he did not lay hands on

anyone or fought with anyone, including law enforcement (¶ 50) and that he expressed surprise at

how things turned out on January 6 (¶ 51). Nonetheless, the Court detained Mr. Rehl because it

found that he played a leadership role in the events of January 6. Significantly for purposes of this



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motion, however, recent information has come to light which refutes the government’s allegation that

Mr. Rehl’s alleged leadership role in the Proud Boys’ Ministry of Self-Defense (“MOSD”) meets its

burden to show that he presents a concrete prospective threat to public safety. The new information

includes:

       (a)      Ministry of Self-Defense (“MOSD”) Virtual Conference video. The video
       shows that the MOSD was created to avoid the chaos and violence that had occurred
       after a rally on December 12, 2020 when several Proud Boys were stabbed and badly
       injured after a rally in DC. To accomplish that goal MOSD sought to impose more
       structure on national rallies, prohibit members from getting intoxicated during rallies
       and select members who would behave “properly.” The video shows that no plan for
       a violent attack on the Capitol was discussed by the MOSD.

       (b)     Third party video. The video shows Mr. Nordean, with Mr. Rehl present,
       stating that the Proud Boys “are not going inside” the Capitol. The statement was
       made in response to a woman who approached Nordean asking to enter the Capitol
       with his group.

       (c)     Various plea agreements and statements by persons present on the
       Capitol Grounds. These documents show that Mr. Rehl was not involved in any
       plan to attack the Capitol and was not “calling the shots” on January 6.

       (d)    1776 Returns. The 9-page document (TSI at ¶ 41) that was allegedly sent
       to Mr. Tarrio was not a plan to attack the Capitol and in any event, Tarrio did not
       share or discuss the document with Mr. Rehl or the other defendants.

              Seditious Conspiracy Charged in the Third Superseding Indictment

       The TSI, which adds a charge of seditious conspiracy in violation of 18 U.S.C. § 2384 alleges

no new facts against Mr. Rehl. Significantly, it does not include a single new fact alleging that Mr.

Rehl used force on January 6, nor advocated it, nor agreed to put in motion the use of “force” for any

reason, much less to oppose by force the authority of the United States or impede the execution of

its laws, as would be required to prove a seditious conspiracy. Two new paragraphs are found in the

TSI. One paragraph alleges just more rhetorical bluster, exchanged after-the-fact between Tarrio and



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another person who is not charged in this case, neither of whom were in DC on January 6 (ECF 380

at ¶107). The second new paragraph alleges that Mr. Tarrio posted a cartoonish image on social

media. Id. at ¶108. This information has been known to the government for months.

       There clearly are less restrictive conditions that will reasonably assure the safety of the

community. For example, six of the 11 defendants in the Oath Keepers case, the only other case

where seditious conspiracy charges are pending in the United States, are released pretrial. See United

States v. Rhodes, No. 22-cr-15 (APM).1 Unlike the instant case, the seditious conspiracy charges in

Rhodes include allegations that some of the defendants including ones who are released pretrial

brought AR-15s and other weapons to a location in Northern Virginia for what is alleged to have

been a “Quick Reaction Force.” Rhodes Indictment at ¶ 4 (“Some coconspirators also amassed

firearms on the outskirts of Washington, D.C., distributed them among “quick reaction force”

(“QRF”) teams, and planned to use the firearms in support of their plot to stop the lawful transfer of

presidential power.”). Some of the released Rhodes defendants are also charged with obstruction for

tampering with documents and other media on or after January 6. Id. (Counts 12-17, charging

violations of 18 U.S.C. § 1512(c)(1)).

       Of particular importance, in seeking to detain Rhodes, the government did not argue that the

seditious conspiracy charge qualified as one of the enumerated offenses that authorizes detention

under18 U.S.C. § 3142(f)(1). See Rhodes, Gov Opp to Reconsideration of Detention (ECF 40 at

12-14). A number of defendants in other January 6 cases, who are alleged to have engaged in violent

or destructive conduct have also been released pretrial. These cases provide ample evidence that Mr.



1
 Defendants James, Minuta, Hackett, Moerschel, Caldwell, Ulrich and Vallejo all have been released
on personal recognizance under high intensity supervision. See Rhodes, Minute Order, 5/7/22.

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Rehl’s pretrial detention is unwarranted.

       For these reasons, Mr. Rehl respectfully moves to reopen his detention hearing pursuant to

18 U.S.C. § 3142(f)(2) on the basis that information not previously known to him or presented to

the Court shows that Mr. Rehl did not function as a leader in any plan to attack the Capitol, rebutting

the primary basis for the Court’s decision to detain him. Mr. Rehl also seeks a new hearing based on

flaws in the original hearing that affected the Court’s determination. Mr. Rehl’s detention has not

previously been reviewed by the Court of Appeals as the Court’s initial detention order was not

appealed.

                                  FACTUAL BACKGROUND

       Without any evidence that Mr. Rehl actually engaged in or promoted any violent conduct, the

government has argued that Mr. Rehl presents a concrete prospective risk of danger on the basis of

his alleged leadership role in the Proud Boys’ Ministry of Self-Defense (“MOSD”) and a handful of

statements, which are nothing more than “rhetorical bravado” protected by the First Amendment.2

I.     Under the Facts in this Case, the First Amendment Prohibits Use of Mr. Rehl’s
       Membership in the Proud Boys as a Basis for Detaining Him

       The Proud Boys is a lawful fraternal organization. Mr. Rehl has a right protected by the First

Amendment to associate with other members of the Proud Boys, as a leader, a “trusted lieutenant”

or otherwise.

                The First Amendment prohibits government from “abridging the
                freedom of speech, or of the press; or the right of the people
                peaceably to assemble, and to petition the Government for a redress
                of grievances.” This Court has “long understood as implicit in the

2
  “Rhetorical bravado” when measured against a defendant’s lack of actual violence does not amount
to an“identified and articulable threat to an individual or the community” as would support
pretrial detention. Munchel, 991 F.3d at 1287.

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                 right to engage in activities protected by the First Amendment a
                 corresponding right to associate with others.” Protected association
                 furthers “a wide variety of political, social, economic, educational,
                 religious, and cultural ends,” and “is especially important in preserving
                 political and cultural diversity and in shielding dissident expression
                 from suppression by the majority.” Government infringement of this
                 freedom “can take a number of forms.” We have held, for example,
                 that the freedom of association may be violated where a group is
                 required to take in members it does not want, where individuals are
                 punished for their political affiliation, or where members of an
                 organization are denied benefits based on the organization's message.

Americans for Prosperity Foundation v. Bonta, 141 S.Ct. 2373, 2382 (2021) (internal citations

omitted).

          Indeed, when activity that falls within the shadow of the First Amendment is alleged to be

criminal, courts are required to apply the strictest standards of judgment in ensuring that only

intentional criminal activity is prosecuted and not constitutionally protected actions, beliefs or

associations. See NAACP v. Claiborne Hardware Co., 458 U.S. 886, 918-19 (1982) (boycott

activity, which was not itself violent, that resulted in the loss of business profits was constitutionally

protected); Noto v. United States, 367 U.S. 290, 297 (1961) (“Throughout our decisions there has

recurred a distinction between the statement of an idea which may prompt its hearers to take unlawful

action, and advocacy that such action be taken.”)

          Noto, which involved a prosecution under the Alien Registration Act (popularly known as the

“Smith Act”), that made it illegal to advocate the violent overthrow of the government, and required

non-citizens to register with the federal government is particularly pertinent to the allegations against

Mr. Rehl in this case. In reversing the conviction, the Court held that the strictest interpretation of

the law must be applied when considering “offhand remarks” of hostility as evidence of criminal

intent:


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                [T]his element of the membership crime, like its others, must be
                judged strictissimi juris, for otherwise there is a danger that one in
                sympathy with the legitimate aims of such an organization, but not
                specifically intending to accomplish them by resort to violence, might
                be punished for his adherence to lawful and constitutionally protected
                purposes, because of other and unprotected purposes which he does
                not necessarily share.

Noto, 367 U.S. at 299-300.

        When individuals associate together to advance a shared political objective, this activity is

presumptively protected by the First Amendment to the United States Constitution even when others

around them commit breaches of the peace. See Texas v. Johnson, 491 U.S. 397, 408-09 (1989) (a

principal “function of free speech under our system of government is to invite dispute. It may indeed

best serve its high purpose when it induces a condition of unrest, creates dissatisfaction with

conditions as they are, or even stirs people to anger”). In reversing a conviction for flag-burning as

“expressive conduct” protected by the First Amendment, the Supreme Court considered that the

incident took place during a demonstration “to protest the policies of the Reagan administration” at

as President Reagan was being re-nominated at the Republican National Convention held in Dallas

in 1984. Id. at 399. Notably, the Supreme Court rejected the argument propounded by Texas that

the breaches of the peace by other demonstrators nullified the flag burner’s First Amendment rights.

Id. at 408.

        Similarly, in vacating the detention order in Munchel, the D.C. Circuit rejected the notion that

statements made to the media or others in support of the events of January 6 indicated that

defendants’ posed “a clear danger” to society reasoning that the defendants’ “actual conduct belied

their rhetorical bravado.”




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                In evaluating the “nature and seriousness” of any danger, the district
                court highlighted statements that Munchel and Eisenhart made to the
                media on January 7. Munchel said that “[t]he point of getting inside
                the building is to show them that we can, and we will,” Munchel, 521
                F.Supp. 3d 54, 62 (D. D.C. 2021), while Eisenhart, invoking the
                American Revolution, said that she would “rather die and would
                rather fight” than “live under oppression,” Id. at 64. To the district
                court, these statements indicated that the defendants pose “a clear
                danger to our republic” and that Eisenhart is a “would-be martyr.” Id.
                at 62. But the defendants’ actual conduct belied their rhetorical
                bravado. During the chaos of the Capitol riot, Munchel and Eisenhart
                had ample opportunity to fight, yet neither of them did. . . .

                Moreover, even if their comments indicate some willingness to engage
                in future protests or disruption, the Bail Reform Act permits detention
                only to prevent an “identified and articulable threat to an individual or
                the community.”

Munchel, 991 F.3d at 1287.

        Here there is no evidence that Mr Rehl resorted to violence under any standard of proof.

There is certainly insufficient evidence to meet the strictissimi juris quantum of evidence necessary

to turn his “offhand remarks” and “rhetorical bravado” into proof that he presents a concrete and

prospective risk of danger. Mr. Rehl’s membership in the Proud Boys or in the MOSD, whether in

a leadership capacity or otherwise cannot therefore serve as the basis for detaining him pretrial.

Indeed, if the strictest standard of evidence is required for a conviction when First Amenment

activities are in play, it follows that the same strictest standard must be required before a person may

be detained before conviction based on his associational activities.

II.    Mr. Rehl Did Not Use Force or Agree with Anyone to Use Force

        Notwithstanding the unprecedented charges and rhetorical flourishes found in the Third

Superseding Indictment, discovery and public source materials show that Mr. Rehl did not use force

or agree to use force on January 6. He did not possess or use any weapons, mace or other irritants.


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He did not possess or use zip ties or other restraints. He did not damage, loot, take away or

vandalize any property. He did not move barriers. He did not throw things or battle with police.

He did not physically injure anyone. And he did not direct or help anyone to do any of those things.

         In contrast to what is alleged against other January 6 defendants, Mr. Rehl did not “forcibly”

enter or “force” his way into the Capitol. TSI at ¶ 104 (Rehl allegedly “entered the Capitol at

approximately 2:53 p.m.”). Twenty to thirty minutes after the other defendants had entered the

Capitol, Mr. Rehl is alleged to have entered through an open door at the same time as hundreds of

other persons.3 None of the hundreds of other persons shown entering through the same door, have

been charged with seditious conspiracy; most have only been charged with misdemeanor offenses.

See Video, 0102 USCS 01 Senate Wing Door near S139-2021-01-06_14h47min00s000ms. While

inside the Capitol, Mr. Rehl is not alleged to have met up with the other defendants.

         A.     Mr. Rehl’s Conduct Does Not Support a Finding that He Intended To
                Disrupt the Congress

         At the time that Mr. Rehl is alleged to have entered, the proceedings had already been

suspended by both Houses. Vice President Pence had reportedly already left the premises.4 While

in the Capitol, Mr. Rehl did not battle police, throw things, or damage property. In a recent bench

trial, Judge McFadden held that such conduct does not support a finding that a defendant acted with

the intent to impede or disrupt the orderly conduct of government business. See, e.g., United States




3
    Pezzola entered at 2:13 pm (ECF 380, ¶ 94); Biggs at 2:14 pm (¶95); Nordean at 2:37 pm (¶ 98).
4
   These facts come from the recent guilty plea in United States v. Finley, 21-cr-00526, Statement
of Offense (ECF 38, 4/6/22), who is alleged to have entered the Capitol with Mr. Rehl. At
approximately 2:20 p.m. all the proceedings in Congress had been suspended. Id. at ¶ 6; see also
Finley Complaint (ECF 1-1) at 3 (“A voice can be heard saying, “I heard Pence got evacuated.”).

                                                   9
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v. Griffin, 21-cr-92.5

         B.     Mr. Rehl Did Not “Call the Shots”

         Mr. Rehl was “not calling the shots” on January 6. Bates #176-PH-3422014; see also

Donohoe Statement of Offense (ECF 336, ¶¶ 28-30, 34-35). Significantly, four other defendants who

are alleged to have entered the Capitol with Mr. Rehl have only been charged with misdemeanor

offenses and been released pretrial. One of these defendants traveled to DC with Mr. Rehl, stayed

at the same hotel as Mr. Rehl and marched with Mr. Rehl and other Proud Boys on January 6. He

has told the government that on January 6, Mr. Rehl was “not calling the shots.” He identified

another person as being the leader and said that other person “made the calls.”6

         Of entering the Capitol, this defendant stated that

                After the initial breach, [defendant] was with Zach [and two others].
                [They] wanted to “go in and take a peek” and that they made the
                decision to enter the Capitol Building as a group. [Defendant] was
                curious as to what was going on inside the Capitol Building. . . . They
                left the building as a group.”

Id.

         C.     Others Involved in Similar Conduct Have Been Released Pretrial

         Another one of the persons who is alleged to have entered the Capitol with Mr. Rehl, Jeffery

Finley, pleaded guilty on April 22, 2022. Like Mr. Rehl, Finley is the president of a chapter of the

Proud Boys. Finley is shown in various videos and photographs filed by the government marching

with the Proud Boys and at times standing next to Mr. Rehl.7 By his own admission, on January 6,


5
    Oral Judgment, Transcript of Bench Trial held on March 21-22, 2022 (ECF 106) at 335-338.
6
    These statements are from a voluntary proffer made to FBI special agents. (176-PH-3422014).
7
    Finley, 21-cr-00526, Information (ECF 25); Statement of Offense (ECF 38 at ¶¶ 7-23).

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Finley marched with the Proud Boys from the start and participated and posted on the Boots on the

Ground telegram chat. Id. (ECF 38) at ¶ 8. Finley watched as the barricades were torn down; after

the crowd overran law enforcement, he followed the crowd onto the west terrace of the Capitol; and

also invited other members of his chapter to join him at the Capitol.8 During these events, Finley

posed for a photograph with Mr. Rehl and three other Philadelphia Proud Boys “on the Upper West

Terrace of the U.S. Capitol during the breach.”9

          After entering the Capitol and observing barricades torn down and the crowd overrunning law

enforcement, Finley posted a video message, which among other things celebrated the events of the

day and congratulated Mr. Rehl (“Yo, [Zach Rehl], proud of your (sic) fucking boy”). Finley (ECF

38) at ¶ 23. Finley deleted social media posts and photographs of himself and other Proud Boys at

the Capitol and directed members of his chapter to do the same.10 Id. Despite almost identical

conduct by Finley and notwithstanding the allegations that Finley obstructed justice by deleting and

directing members of his chapter to delete posts, the government did not consider Finley a risk of

danger and did not seek his detention pretrial. See Finley, Initial Appearance, 3/29/21.




8
  “While standing on the upper west terrace of the Capitol, Finley exchanged at least one message
with a member of his chapter in which Finley advised the member to join him at the Capitol.” (ECF
38 at ¶ 18); see also Finley Complaint (ECF 1-1).
9
     Complaint, Case No. 21-mj-00689 (ECF 1-1 at 8).
10
   “Following the events at the Capitol on January 6, 2021, Finley took measures to obstruct the
government's investigation into criminal conduct at the Capitol. Among other things, Finley deleted
his social media accounts and deleted photos and videos of himself and other Proud Boys at the
Capitol. Finley also directed members of his chapter to delete their photographs and advised the
presidents of other Proud Boys chapters of his actions, writing in an encrypted message, “Deleted all
photos I may have had, advised my boys to as well. No talks about dc on telegram whatsoever and
gathering #s as we speak.” Finley (ECF 38) at ¶ 24.

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         In detaining Mr. Rehl, this court considered various factors to “differentiate the severity of

the conduct for many of the Capitol breach defendants.” Court’s Opinion (ECF 147) at 48. At the

time, it did not have before it Mr. Finley’s case, whose conduct cannot be differentiated in any

material fashion from that alleged against Mr. Rehl to warrant such radically different treatment,

including Mr. Rehl’s lengthy period of pretrial detention. While Finley was not a member of the

MOSD, that is not a material distinction as the recently produced MOSD video shows that Mr. Rehl

did not plan an attack on the Capitol while a member of the MOSD. Thousands of text messages,

and Mr. Rehl’s nonviolent conduct on January 6 also show that no material distinction exists between

Finley and Mr. Rehl.

III.     New Information About the MOSD Refutes Argument that Mr. Rehl Had a
         Leadership Role in Planning an Attack on the Capitol

         A.      MOSD Was Created to Prevent Violence Not Promote It

         The Ministry of Self Defense (“MOSD”) is at the heart of the government’s argument that

Mr. Rehl held a leadership role in a conspiracy to attack the Capitol, which persuaded the Court to

order the pretrial detention of Mr. Rehl.11 The foundational meeting of the MOSD was held virtually

on December 30, 2020. A video of that meeting refutes the notion that the MOSD was formed to

plan a violent attack on the Capitol and that as a member of the MOSD, Mr. Rehl conspired to plan

such an attack.12 Nothing in that video, which lasted 1 hour and 38 minutes supports that claim.

          The video clearly shows that the MOSD was created to avoid the chaos and violence that had

occurred on December 12, 2020, when several Proud Boys were stabbed and badly injured after a


11
   See Court’s Oral Opinion (ECF 147) at 38-42; Gov Reply in Support of its Motion for Revocation
of Release Order and for Pretrial Detention (ECF 91, 5/24/21) at 1-2.
12
     See Third Superseding Indictment (“TSI”) at ¶ 42.

                                                  12
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rally held in DC.13 (While Mr. Rehl participated in the rally on December 12, he was not involved

in the post-rally fight when several Proud Boys were stabbed).

         At the start of the MOSD virtual meeting, co-defendant Donohoe states:

                Basically this specific chapter is going to have a code of conduct
                stricter than other chapters when it comes to these national public
                events. For one, the biggest one is no intoxication. . . .We're bringing
                in guys that we . . . expect . . . to behave properly and be a good
                molding cement for this chapter.14

         Following Donohoe’s statement, Mr. Tarrio was even more clear that the purpose of the

MOSD was to prevent a repeat of the drinking and chaos that had resulted in injuries weeks earlier:

                MR. TARRIO: Okay, so let me, I'm going to break those down a
                little bit. So number one, OPSEC, obviously as you guys know, like
                don’t fuckin’ share screen shots. That’s pretty fuckin’ basic. I don't
                have to go over that.

                As far as, like people know that this exists, so the statement is we
                need a way to do rallies better. We fucked up on the 12th. I’m not
                going to say that we fucked up royally because a lot of good things
                happened on the 12th, right, except whatever, Jeremy [who had been
                stabbed on 12/12] is in here. Fuck that dude. But there is, there is
                things that we need to fix. And it wasn’t because of the 12th. It’s
                because moving forward, we can’t continue to have that issue. It will
                bury the entire club if one huge incident happens and we’re at fault. I
                saw a lot of people going on the offense. We're not used to going on
                the offense. That's why it’s called self-defense. Self-defense should
                always come first. You should always defend yourself. We shouldn't
                put ourselves in harm’s way, right? We’ve been known to defend
                people. I get it, right, but it doesn't mean that we have to go out and
                look for it. Touching on the subject, what was the second thing,
                Yut?15


13
   “While in Washington, D.C. on December 12, 2020, several Proud Boys were involved in an altercation
in which Proud Boys members were injured, including a knife wound suffered by PERSON-1.” TSI at ¶ 16.
14
     MOSD Zoom (Tr. at 7-8).
15
     Defendant Donohoe is sometimes referred to by his nickname “Yut.”

                                                  13
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                ...
                Yeah, the no intoxication thing, it just, it just applies to the rallies,
                right? You guys can get as trashed as you want after the rally or
                before the rally, not right before the rally, but don't get trashed. I saw
                a lot of people fuckin’ drinking, a lot of people fuckin’ fighting.
                Okay, I had to fuckin’ slap somebody at that fuckin’ event because
                they were trying to push the entire crowd in one direction and I'm
                trying to fuckin’ push the crowd in another direction.

                Now that goes with the whole thing. I don't want this – this isn’t a
                foke (phonetic) thing. This isn’t a fuckin’, a thing where it's going to
                be a fuckin' super militant fuckin' thing, but we do need to organize
                better and in order to do that, we need to have a top down structure,
                right.16
                ...

         Throughout the meeting, the MOSD leaders focused on ways to make sure that rally members

would behave properly and avoid violence. There is zero discussion about a violent attack on the

Capitol. Indeed, Mr. Tarrio reiterates the Proud Boys’ history of working with, not against, law

enforcement: “we’re never going to be the ones to cross the police barrier or cross something in

order to get to somebody.”

                MR. TARRIO: Yeah, I mean every situation calls for something
                different, you know. Like we’re – I think on the verbal sense and the
                media sense, me and Biggs has got in on lock, where we know exactly
                what we're going to say that will piss off the media. And you can
                translate that to on the grounds. Now I'm not saying, now I'm not
                saying to go ahead and fuckin' talk shit. Go ahead and talk shit, as
                long as it, you know, keep it fuckin' professional. But we're never
                going to be the ones to cross the police barrier or cross something
                in order to get to somebody. We're always going to be the ones
                standing back, right, and we're always going to be the ones to fuckin'
                defend.

                And we've been really good at it. We've been – let's be honest. We've
                been really good at that. But what I saw on Saturday was like a
                fuckin' pool of fuckin' unchained pit bulls, just running into every


16
     MOSD Zoom (Tr. at 9-11).

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                 situation, right. If we don't run into the situation and we just chill,
                 we'll be there. We’re – dude, there was enough of us to take – listen,
                 there was enough of us to fuckin' go ahead and do whatever we
                 wanted to do in DC. Nobody was going to be able to stop it.17

         Others expressed the same sense of trying to avoid chaos and violence:

                 MR. BERTINO: But yeah, touching on what you were saying, what
                 I noticed was just everyone was like hyper on edge at that last rally.
                 And you know, what we’re trying to avoid by doing this is like that
                 cowboy shit, where people are running off, you know. Like when we
                 were leaving the Freedom Plaza, I saw the dudes in the fuckin’ skirts
                 running off fuckin’ down – we had to fuckin’ chase them down. It
                 breaks us up, and that’s what we’re trying to avoid with what we’re
                 doing here.18

         They discussed using protective gear to defend themselves from attacks by counter

demonstrators wielding knives.        It was not a strategy for protecting themselves from law

enforcement. They wanted to avoid more stabbings. Police do not use knives; stabbing cannot refer

to them.

                 MR. REHL: Anybody who is in the chat and everything, like if
                 anybody has any – a link to like proper equipment that would be
                 actually effective, maybe a stab-proof vest or something and it’s not
                 overly expensive, like. Not all of us are rich. So you know, we’re
                 not, basically if you can find maybe something that is not $800 that
                 would prevent, you know, being stabbed.19

         Bertino, who had been stabbed after the December rally also weighed in:

                 MR. BERTINO: Well, listen, even if you can’t, man, get some
                 fuckin’, pull like a fuckin’ Omar from The Wire and fuckin’ duct tape
                 goddamn phone books around your fuckin’ – around yourself. Trust
                 me, you don’t want to get stabbed. If you’ve never been stabbed, you


17
     Id. at 33-34 (emphasis added).
18
     Id. at 35-36 (emphasis added).
19
     Id. at 62-63 (emphasis added).

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                  don’t want to get stabbed. So whatever the fuck you can do to
                  prevent that, do it. I don’t give a shit if it costs fuckin’ 13 cents or
                  1300. Do whatever you got to do to protect your fuckin’ body.20

          In sum, the MOSD video refutes the government arguments that Mr. Rehl’s membership in

the MOSD proves that he played a leadership role in any conspiracy to attack the Capitol or that he

aided and abetted others’ use of force. The MOSD sought to prevent violence, not promote it.

Beyond that, there is zero evidence that Mr. Rehl had any knowledge of any other plan to attack the

Capitol or to use force to do so.

          As the Court found, Mr. Rehl expressed “surprise at exactly how January 6th transpired.”

(ECF 147 at 51). He also expressed a lack of knowledge that any Proud Boys had been involved in

breaking windows. As he personally did not use force and did not know of any plan to use force, he

cannot be held responsible for such conduct. See Rosemond v. United States, 572 U.S. 65 (2014)

(defendant must have advance knowledge of an accomplice’s plan to be liable as an aider and

abettor).

                  An active participant in a drug transaction has the intent needed to aid
                  and abet a § 924(c) violation when he knows that one of his
                  confederates will carry a gun. In such a case, the accomplice has
                  decided to join in the criminal venture, and share in its benefits, with
                  full awareness of its scope – that the plan calls not just for a drug sale,
                  but for an armed one. In so doing, he has chosen (like the abettors in
                  Pereira and Bozza or the driver in an armed robbery) to align himself
                  with the illegal scheme in its entirety – including its use of a firearm.
                  And he has determined (again like those other abettors) to do what he
                  can to “make [that scheme] succeed.” He thus becomes responsible,
                  in the typical way of aiders and abettors, for the conduct of others.
                  He may not have brought the gun to the drug deal himself, but
                  because he took part in that deal knowing a confederate would do so,
                  he intended the commission of a § 924(c) offense – i.e., an armed drug
                  sale.


20
     Id. at 64.

                                                      16
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               For all that to be true, though, the § 924(c) defendant's knowledge of
               a firearm must be advance knowledge – or otherwise said, knowledge
               that enables him to make the relevant legal (and indeed, moral) choice.
               When an accomplice knows beforehand of a confederate's design to
               carry a gun, he can attempt to alter that plan or, if unsuccessful,
               withdraw from the enterprise; it is deciding instead to go ahead with
               his role in the venture that shows his intent to aid an armed offense.
               But when an accomplice knows nothing of a gun until it appears at the
               scene, he may already have completed his acts of assistance; or even
               if not, he may at that late point have no realistic opportunity to quit
               the crime. And when that is so, the defendant has not shown the
               requisite intent to assist a crime involving a gun. As even the
               Government concedes, an unarmed accomplice cannot aid and abet a
               § 924(c) violation unless he has “foreknowledge that his confederate
               will commit the offense with a firearm.” Brief for United States 38;
               see also infra, at 1250 – 1252. For the reasons just given, we think
               that means knowledge at a time the accomplice can do something with
               it– most notably, opt to walk away.

Rosemond, 572 U.S. at 77- 78.

       B.      Other Information Contradicts Allegations of a Plan to Attack

       In addition to expressing surprise, Mr. Rehl did not know Pezzola, who apparently had only

recently joined the Proud Boys. Telegram messages show that Mr. Rehl was not aware of any actions

allegedly taken by Pezzola on that day. He also was not aware that Donohoe had thrown water

bottles at law enforcement officers. Indeed, Donohoe himself has told the government that his bottle

throwing was not part of any plan to attack the Capitol or interfere with law enforcement. Rather,

it was an impulsive act:

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at 5 (176-CE-3401971)[redacted per “highly sensitive” designation]

       Matters considered by the Court under seal also refute the allegation that the Proud Boys and

the MOSD planned a violent attack on the Capitol.

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’ August 11, 2021 interview at 26-27 [redacted].



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       C.      Mr. Rehl Did Not Plan And Was Not Aware of Any Plan to Attack the
               Capitol

               1.      No Plan to Attack the Capitol Was Discussed on Telegram

       In addition to the MOSD video, despite the allegations in the TSI alleging that from

December 2020 through January 2021, Mr. Rehl conspired with others to “oppose by force” and

“corruptly obstruct” the Congress (¶¶ 26, 110), not a single text message or social media posting by

Mr. Rehl indicates that he was aware of such a plan, that he joined a conspiracy during those dates

for those purposes, that he traveled to the District of Columbia to carry out such a plan, or that he

aided and abetted any person in any such plan. The Boots-on-the-Ground chat, created on January

5, 2021, consists of 1,494 pages, with multiple messages on each page.21 Thousands of other text

messages were also recovered from Mr. Rehl and the other defendants. Yet, the government has

failed to cite to the Court a single text from the MOSD, the “New-MOSD,” Boots-on-the-Ground

or any other telegram group that describes a plan to use force or attack the Capitol on January 6 by

Mr. Rehl or where he joins or promotes such a plan.

       Notably, while the government has obtained thousands of pages of telegram text messages

and social media posts from the defendants, it has only presented a handful of statements consisting

of “rhetorical bravado” – protected by the First Amendment. Under Munchel, Mr. Rehl’s non-

violent conduct on January 6 belies any claim that rhetorical bravado before or after January 6

supports a conclusion that he presents a risk of danger.




21
   The chat is Bates stamped “USAO_NORDEAN (21-CR-175)_00000001 through
USAO_NORDEAN (21-CR-175)_00001494

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              2.      The Plan Was to Meet at the Washington Monument

       Donohoe, a key and active participant in the MOSD, created and administered the Telegram

applications for MOSD leadership. (ECF 336 at ¶¶19-20). Yet, as of 9:21 pm on January 5, Donohoe

did not know the “plan” for January 6: (Bates #21CR175_00006715)(messages show UTC time):




       After a series of back and forth messages (Bates #21CR175_00006718), the only “plan” that

was passed on to the MOSD was to meet at the Washington Monument at 10 am:




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       That was the only plan communicated to the MOSD, to Boots-on-the-Ground and to Mr.

Rehl. See also TSI at ¶¶ 63-65; Donohoe Plea (ECF 336 at ¶¶ 22-24). Note also that Mr. Rehl’s

understanding of the plan was, as discussed in the 12/30 MOSD meeting, to break off into smaller

teams. Mr. Rehl was not with Biggs and Nordean on the evening of January 5 and Tarrio was not

in DC.22 Mr. Rehl did not speak with Tarrio by phone on January 5 or January 6. Compare TSI at

¶¶ 63, 105. Thus, any communications between Mr. Rehl and Biggs, Nordean, or Tarrio on January

5, would have been on telegram. No message exists where they discuss a plan to attack the Capitol.

       Donohoe and Finley, who have pleaded guilty pursuant to cooperation agreements have stated

that the only plan they were aware of was to meet at 10 am. No one and no message relates that Mr.

Rehl was aware of any plan to attack the Capitol. See, e.g., Donohoe Statement of Offense (ECF 336,

¶22-23); Finley Statement of Offense, 21-cr-00526 (ECF 38); telegram messages. Both Donohoe

and Finley were with Mr. Rehl on January 6 and participated in the Boots-on-the-Ground telegram

chat and thus were in a position to know what Mr. Rehl knew.

               3.      Radios and Travel Expenses Are Red Herrings

       The other allegations that the government has propounded are red herrings that do not

provide the requisite clear and convincing evidence to detain Mr. Rehl pretrial. First, possession of

radios is not illegal. Second, there is no allegation in Mr. Donohoe’s FBI proffer or his guilty plea

that Mr. Rehl or the others used the radios to facilitate an attack on the Capitol. Third, photographs

of Mr. Rehl shortly before he is alleged to have entered the Capitol show that he did not have a radio

at that point. Fourth, undersigned counsel is prepared to submit to the Court copies of receipts that


22
   Mr. Rehl and three Philadelphia Proud Boys traveled together to DC and stayed in two adjoining
rooms in the same hotel on January 5. On their way to DC, they bought beer in Delaware (where the
taxes are lower) and drank beer in their hotel rooms that night.

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show that Mr. Rehl had purchased the radios in November 2020 for use at the December 2020 rally

in DC and that the Proud Boys use radios at their rallies, as to which no criminal charges have been

brought. Morever, bringing a couple of radios to a rally cannot possibly provide clear and convincing

evidence that Mr. Rehl poses a concrete prospective threat to society. For example, if necessary, the

Court could impose as a condition of pretrial release that he not attend any rallies or that if he does,

he not bring radios to any rallies. The allegation that Mr. Rehl solicited a few thousand dollars to

cover travel expenses to DC is perfectly legal activity and again does not meet the Government’s

heavy burden.

        D.      Video Shows that There Was No Plan to Enter the Capitol

        On January 6, a person who has pleaded guilty to a misdemeanor offense taped a conversation

she had with Mr. Nordean, whom she recognized as a Proud Boy. In pertinent part, the following

exchange takes place (emphasis added):

        Woman: Are we going inside, I want to go inside. . .
        Nordean: No we are not going inside.
        ...
        Woman: Tell us what you are up to, I want to record you.
        Nordean: We are out here representing America, that is basically it.

Mr. Rehl is seen in the video, agreeing with Mr. Nordean. The video will be filed separately with

the Court; the government already has a copy.23


        E.      Mr. Rehl Was Not Aware of A Plan to Occupy Congressional Office
                Buildings Referenced in 1776 Returns


23
    The video was recently provided to one of the defense counsel by a third party and has been
referenced in Nordean’s Brady motion and related filings. A longer version of the video was
produced in a discovery dump on May 12, 2022. See Rehl Reply re Motion to Compel Notice of
Case-in-Chief discovery (ECF 364) (production of 4-TB hard drive and additional global discovery);
Gov’ Response to Nordean Brady Motion (ECF 374) (attaching 9-page index of discovery).

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       Mr. Rehl had no knowledge of the document titled 1776 Returns, which is referenced in

the“Background” and “Acts in Furtherance of the Conspiracy” (TSI at ¶ ¶14, 41) and incorporated

by reference into the various counts of the TSI. Moreover, 1776 Returns is not a plan to attack the

Capitol and does not even mention the Capitol. It refers to occupying Congressional office buildings.

       The document was never shared or otherwise discussed with Mr. Rehl. 1776 Returns was

sent to Mr. Tarrio by a female acquaintance. Mr. Rehl does not know the woman who sent the

document and has not had any conversations with her. The government has represented that Tarrio

did not forward the document to Mr. Rehl or the other defendants. And that Tarrio did not discuss

the document or its contents with Mr. Rehl and the other defendants.

       Moreover, a proposal to occupy office building is a time-tested protest activity. Activists

occupied buildings during the 1960s while protesting racial discrimination and against the Vietnam

War. There is no indication that the government has ever charged any protestors who have actually

occupied buildings with the felony conspiracies charged in the instant case. There certainly is no

evidence that a plan to occupy office buildings has been used to support a charge of seditious

conspiracy against a person who did not use any force or violence. Much less has any person, like

Mr. Rehl who was not even aware that Mr. Tarrio had received such a proposal been charged with

seditious conspiracy on that basis.

       The Department of Justice has not charged any of the protesters who occupied Senate office

buildings or otherwise entered the Capitol and disrupted the confirmation hearings of Justice

Kavanaugh with any federal charges, much less with seditious conspiracy.




                                                 23
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     Nearly 300 protesters were arrested at a US Senate building on
     Thursday afternoon as crowds of activists descended on Capitol Hill
     while lawmakers reviewed the FBI’s report on the allegations against
     Supreme Court nominee Brett Kavanaugh.

     Protesters gathered in the Hart Senate Building atrium after US
     Capitol Police barricaded the front of the Capitol.

     In a statement, US Capitol Police communications director Eva
     Malecki said that at about 3:30 p.m., 293 people were arrested for
     unlawfully demonstrating.




                                     24
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“More than 300 protesters arrested as Kavanaugh demonstrations pack Capitol Hill.”24

         Thus, if DOJ has now determined that contemplating using tactics such as occupying Senate

Office buildings to influence and impede Congress is an element of a seditious or obstruction

conspiracy, notwithstanding that such a plan was not communicated to Mr. Rehl, DOJ should be

reminded that the statute of limitations has not run on the Kavanaugh demonstrations. The anti-

Kavanaugh demonstrators went beyond contemplating such protest activities to to actually occupying

Senate office buildings, believing strongly in their cause and their right as Americans under the First

Amendment to make their voices heard, loudly and forcefully. Yet, none of them have been charged

with seditious conspiracy or any other felony on that basis.

         In stark contrast to the charges brought against Mr. Rehl, the many protestors who attacked

law enforcement and damaged the federal courthouse and other federal buildings in Portland Oregon

in 2020, have not been charged with seditious conspiracy and most of the original charges have been

dropped or pled down to misdemeanors. See DOJ Press Release “18 Arrested, Facing Federal

Charges     After   Weeknight     Protests   at   Federal      Courthouse    in   Portland”    at

https://tinyurl.com/4wt3udev.

                According to court documents, since May 26, 2020, protests in
                downtown Portland have been followed by nightly criminal activity
                including assaults on law enforcement officers, destruction of
                property, looting, arson, and vandalism. The Hatfield Federal
                Courthouse has been a nightly target of vandalism during evening
                protests and riots, sustaining extensive damage.
                ...
                All 18 defendants have made their first appearances in federal
                court and were ordered released pending jury trials or other
                follow-up court proceedings.



24
     https://www.cnn.com/2018/10/04/politics/kavanaugh-protests-us-capitol/index.html

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Id. (emphasis added).

       The below images, included in the DOJ press release show the depradation of property caused

by the Portland protesters. Id. Yet the 18 defendants who were charged with this criminal activity

were released pretrial. Id.




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         The First Amendment and the Due Process clause prohibit such content-based disparate

treatment of Mr. Rehl who did not attack any person, destroy any property nor plan any such activity.

       F.      Government Did Not Present Favorable Evidence to the Grand Jury

       In weighing the evidence Mr. Rehl has submitted in this Motion against the fact of an

indictment, the Court should take into account that the evidence the government appears to have

presented to the Grand Jury about the MOSD omitted key material evidence. Note for example, that

the TSI quotes from the MOSD video/conference (¶ 42) but omits the statements made by Mr. Rehl,

Mr. Tarrio and others explaining their purpose in forming the MOSD was to prevent intoxicated

Proud Boys from behaving poorly, to prevent them from going on “the offense,” and to prevent

anyone from getting hurt. Indeed, the purpose of creating a hierarchical structure was not an end in

itself. It was a method to bring order to the rallies to avoid chaos and possible violence. It also

appears that the other information set out above in section III was not presented to the Grand Jury.

       While the government may not have an obligation to present all the evidence to the Grand

Jury, it also cannot use its decision not to present favorable evidence as a sword. Having chosen to

keep such material evidence from both the Grand Jury and this Court at the earlier detention

hearing,25 the government should not now be allowed to shield itself from this evidence by hiding

behind the indictment returned by a Grand Jury that was not presented with all the facts.




25
   See Government’s Reply in Support of its Motion for Revocation of Release Order and for Pretrial
Detention (ECF 91) at 2, which includes a quote from the Dec 30 MOSD video conference about the
leadership structure for the MOSD. Neither the memoranda submitted to the Court by the
government nor the Indictment (which is drafted by the government and submitted to the grand jury
for its vote) contains any reference to the quotes noted above about Mr. Tarrio’s and the MOSD
reason for imposing a leadership structure was to allow the Proud Boys to hold peaceful rallies that
did not devolve drunken chaos.

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                                            ARGUMENT

I.      The Earlier Detention Hearing Was Flawed.

        A.      Findings Made During the Biggs and Nordean Detention Hearings

        In detaining Mr. Rehl, the Court stated that it would “refer back to, and incorporate here, the

facts that I set forth in my prior ruling on April 19th , 2021, ordering Defendants Nordean and Biggs

detained pretrial.” Mr. Rehl was not present at the Nordean and Biggs detention hearings and

therefore did not have an opportunity to be heard. To use the findings of their hearing againsts Mr.

Rehl violates his rights under the Bail Reform Act as well as his rights to the assistance of counsel

and to the due process of law. 18 U.S.C. § 3142(f); United States v. Salerno, 481 U.S. 739, 751-52

(1987) (Bail Reform Act complies with due process of law in part because the “procedures by which

a judicial officer evaluates the likelihood of future dangerousness are specifically designed to further

the accuracy of that determination”)26; United States v. Wind, 527 F.2d 672, 676 (6th Cir. 1975)

(exclusion of defendant and his counsel from an in camera proceeding deprived defendant of his right

to hearing on bail and his right to counsel at detention hearing). Accordingly, Mr. Rehl objects to

the Court’s incorporation of facts as to which he had no opportunity to be heard.




26
   “Detainees have a right to counsel at the detention hearing. 18 U.S.C. § 3142(f). They may testify
in their own behalf, present information by proffer or otherwise, and cross-examine witnesses who
appear at the hearing. Ibid. The judicial officer charged with the responsibility of determining the
appropriateness of detention is guided by statutorily enumerated factors, which include the nature and
the circumstances of the charges, the weight of the evidence, the history and characteristics of the
putative offender, and the danger to the community. § 3142(g). The Government must prove its case
by clear and convincing evidence. § 3142(f).”

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       B.      Government Proffer Not Adequate in This Case

       Mr. Rehl respectfully requests that the Court require the government to produce evidence

in support of its dangerousness argument with live testimony, not by proffer of government counsel.

Particularly, in light of the discrepancies that have arisen between the allegations regarding the MOSD

and any alleged plan to attack the Capitol and the actual facts, proceeding by proffer is not adequate

in this case. See, e.g., United States v. Hammond, 44 F. Supp. 2d 743, 745 (D. Md.1999)(“ The Bail

Reform Act, 18 U.S.C. § 3141 et seq., does not expressly authorize the government to proceed by

proffer at detention hearings. Such authority is granted to defendants. 18 U.S.C. § 3142(f)”).

               In short, the case law supporting detention upon government proffers
               in no way requires a judicial officer to accept or accredit proffered
               evidence, nor does that case law assume that proffers in lieu of live
               testimony are appropriate in every case. The case law certainly does
               not limit, and in fact supports, the discretion of the reviewing judicial
               officer to require the presentation of evidence. Of necessity, the
               propriety of a proffer as a basis for detention must be assessed on a
               case-by-case basis. When the government is able to proffer evidence
               that reflects ample and substantial corroboration for its contention that
               a defendant has committed an offense and is dangerous or a flight risk,
               efficiency and the need to conserve scarce judicial resources justify
               accepting that proffer in lieu of live testimony; and such proffers that
               are reflective of weighty and broad evidence of guilt, when considered
               with other information such as criminal history and lack of ties to the
               community, can be entirely proper bases for orders of detention.

Hammond, 44 F.Supp.2d at 746.

       In a case such as this, where Mr. Rehl’s history and characteristics do not support detention

and the government’s proffer regarding his alleged participation in a plan to attack the Capitol is in

such dispute, “the Court should consider the proffer with great care and accord it limited weight.

Before entering any order of detention in such a case, the judicial officer should require the

government to present live testimony able to withstand confrontation, long- and well-recognized as


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the “greatest legal engine ever invented for the discovery of truth.” Id. (citations omitted). As a

matter of practice in this district, detention hearings often involve testimony by law enforcement

officers, where defense counsel are able to cross-examine the witness, and not merely a presentation

and argument by prosecutors.

II.    The Government Has Failed to Meet Its Heavy Burden to Show by Clear and
       Convincing Evidence that Mr. Rehl Fits into That Small Subset of “Particularly
       Dangerous Defendants” Who must Be Detained Pretrial

       Congress limited pretrial detention to a small subset of defendants charged with crimes that

are “the most serious” compared to other federal offenses. United States v. Salerno, 481 U.S. at 747.

“This construction is consistent with the Senate Report, which states that pretrial detention is

necessary for only a “small but identifiable group of particularly dangerous defendants.” See S.Rep.

No. 98-–225, at 6 (1984).” United States v. Singleton, 182 F.3d 7, 13 (D.C. Cir.1999). Under all

the facts and circumstances now before the Court, there is not basis for finding that Mr. Rehl falls

within that “group of particularly dangerous defendants.”

       Mr. Rehl, a man with no prior history of violenct conduct who did not use or threaten

violence nor damage property on January 6 simply does not fit that limited circumstance. In detaining

Mr. Rehl, the Court focused its analysis on the obstruction charge, however under the Bail Reform

Act, the obstruction charge (18 U.S.C. § 1512(c)(2)) is not one of the six enumerated circumstances

set out in 18 U.S.C. § 3142(f) that triggers a detention hearing. “Absent one of these circumstances,

detention is not an option. United States v. Singleton, 182 F.3d 7, 9 (D.C. Cir. 1999).

       The reason the government asked the Court to focus on § 1512 is because Mr. Rehl did not

personal destroy property or used force, the only two charges that may arguably authorize detention.

See, e.g., United States v. Byrd, 969 F.2d 106 (5th Cir. 1992); United States v. Ploof, 851 F.2d 7 (1st


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Cir. 1988); United States v. Himler, 797 F.2d 156 (3d Cir. 1986). Indeed, Chief Judge Howell noted

that the weight of the evidence for aiding and abetting depradation of property was weak even where

the defendant led marchers to the Capitol, he himself did not destroy any property and there was no

evidence that he directed others to do so. Nordean Detention Hearing, 3/3/21 at 80-81.27

         The D.C. Circuit has also rejected the argument that it is permissible to ignore the “carefully

defined circumstances” set out § 3142(f) and focus instead on a “generalized backward-looking

assessment of the rioters or the riot.” Munchel, 991 F.3d at 1285.

                [I]nterpreting § 3142(f)(1) to exclude felon-in-possession offenses
                does not deprive the government of an opportunity to detain armed
                felons when other circumstances warrant. For example, pretrial
                detention is permissible in § 922(g) cases if the defendant has two
                prior predicate felony convictions, see § 3142(f)(1)(D), is likely to
                flee, see § 3142(f)(2)(A), or is likely to obstruct justice, see §
                3142(f)(2)(B). When none of these factors is present, however, the
                government cannot secure detention by squeezing § 922(g) into the
                “specific category of extremely serious” violent offenses covered by
                § 3142(f). Salerno, 481 U.S. at 750, 107 S.Ct. 2095.

Singleton, 182 F.3d at 15.

         In any event, the rebuttable presumption set out in § 3142(f)(1) and (f)(2) operates “to impose

a burden of production on the defendant to offer some credible evidence contrary to the statutory

presumption.” United States v. Alatishe, 768 F.2d 364, 371 (D.C. Cir. 1985). Once the defendant,

as Mr. Rehl has done here proffers “at least some evidence” to rebut the presumption, the government

must prove its case for detention by clear and convincing evidence. The burden of persuasion remains

with the government throughout the proceeding. United States v. Mercedes, 254 F.3d 433, 436 (2d

Cir. 2001); see also Alatishe, 768 F.2d at 371 n.14.



27
     US v Nordean, No. 21-mj-00175 (ECF 24).

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III.   Factors to Consider

               In assessing whether pretrial detention is warranted for
               dangerousness, the district court considers four statutory factors: (1)
               “the nature and circumstances of the offense charged,” (2) “the weight
               of the evidence against the person,” (3) “the history and
               characteristics of the person,” and (4) “the nature and seriousness of
               the danger to any person or the community that would be posed by
               the person's release.” 18 U.S.C. § 3142(g)(1)–(4).

Munchel, 991 F.3d at 1279-80.

       A.      Nature and Circumstances of the Offense Charged

       While the Court found that on balance this factor weighed in favor of detention, the Court’s

analysis was flawed as a matter of fact and law. As the Court already found, there is no evidence that

Mr. Rehl “himself . . .laid hands on anyone or fought with anyone, including law enforcement, or

used or carried a weapon on that day.” (ECF 147 at 50). In light of the facts now presented to the

Court about Mr. Rehl’s lack of planning for an attack on the Capitol, this factor weighs in favor of

release. Other than the defendants in this case, other judges have not detained January 6 defendants

on the basis of the conduct alleged against Mr. Rehl. See, e.g., Rhodes, No 22-cr-15; see also Finley,

supra. Moreover, the Court should reassess its analysis based on the current evidence and in light

of the fact that a number of the factors identified in United States v. Chrestman, 525 F.Supp.3d 14,

26-27 (D. D.C., 2021) are inconsistent with § 3142 and Munchel, which the DC Circuit decided after

Chrestman.

       For example, the first Chrestman factor, which looks to whether the defendant has been

charged with a felony or misdemeanor is not consistent with § 3142(f), which authorizes detention

for only six categories of felonies and for no misdemeanors, no matter the factual particulars.

Singleton, 182 F.3d 7, 15. Here, the fact that Mr. Rehl was charged with a § 1512(c)(2) obstruction


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offense, which was the focus of the Court’s analysis simply cannot be weighed in favor of detention

under Singleton and § 3142(f). Opinion (ECF 147 at 48-49)

           In light of all the evidence noted above, the second, third, fourth and fifth Chrestman factors

which the Court found to be a “mixed bag” in part lose their force as a basis for detention.28 The

Court was persuaded that Mr. Rehl engaged in “extensive involvement in planning” with others. But

as shown above, the planning by the MOSD was to prevent chaotic Proud Boys rallies. Mr. Rehl

was not involved in the type of planning that Chrestman found significant – planning that indicates

that the defendant came to DC “with the intention of causing mayhem and disrupting the democratic

process.” Chrestman,525 F.Supp.3d at 26. That is not what Mr. Rehl planned nor what he did on

January 6. The coordination and leadership role that Chrestman identified focuses on whether a

defendant acted deliberately to“encourag[e] other rioters’ misconduct, for example, by urging rioters

to advance on the Capitol or to confront law enforcement” or that “may have inspired further criminal

conduct on the part of others.” 525 F.Supp.3d at 26-27. Mr. Rehl is not alleged to have done any

of that.

           And the discussion of tactical gear by MOSD was to be used to protect themselves from being

stabbed by counter demonstrators not to protect against law enforcement. Mr. Rehl neither brought

any weapon nor acquired any items while in DC to use as a weapon. He also did not battle police nor

overturn barriers. And, shortly after the initial tumult when the bike rack was moved aside by others,

Mr. Rehl left Biggs and Nordean to join Finley and his Philadelphia buddies, none of whom have been

charged with felonies. Coupled with the Court’s finding that Mr. Rehl’s leadership was only at a


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   “As I mentioned before, there’s no evidence that Rehl himself, like Mr. Biggs and Nordean, laid
his hands on anyone or fought with anyone, including law enforcement, or used or carried a weapon
that day.” ECF 147 at 50.

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midlevel (ECF 147 at 49), a proper assessment of these factors should weigh against detention.

       The sixth Chrestman factor which considers the statements made by a defendant does not

survive Munchel when applied to Mr. Rehl’s conduct. The Court found that Mr. Rehl’s words

weighed in favor of detention but the DC Circuit rejected this analysis when a defendant’s conduct

belie the “rhetorical bravado.” That is exactly the situation with Mr. Rehl – his conduct, which did

not include use of any violence or force against a person or property belies his “rhetorical bravado”

and therefore cannot tip the scale for detention. The defendants’ words in Munchel were at least as

full of fire and brimstone, if not more, as Mr. Rehl’s.

               In evaluating the “nature and seriousness” of any danger, the district
               court highlighted statements that Munchel and Eisenhart made to the
               media on January 7. Munchel said that “[t]he point of getting inside
               the building is to show them that we can, and we will,” while
               Eisenhart, invoking the American Revolution, said that she would
               “rather die and would rather fight” than “live under oppression.” To
               the district court, these statements indicated that the defendants pose
               “a clear danger to our republic” and that Eisenhart is a “would-be
               martyr.” But the defendants’ actual conduct belied their
               rhetorical bravado. During the chaos of the Capitol riot, Munchel
               and Eisenhart had ample opportunity to fight, yet neither of them did.
               Munchel lawfully possessed several firearms in his home, but he took
               none into the Capitol. Indeed, before entering the Capitol, Munchel
               and Eisenhart stashed a knife inside a backpack that they left outside,
               precisely for fear of ending up in “federal prison.”

               Moreover, even if their comments indicate some willingness to engage
               in future protests or disruption, the Bail Reform Act permits detention
               only to prevent an “identified and articulable threat to an individual or
               the community.” Here, the district court identified one such threat–
               that Munchel and Eisenhart would attempt “to stop or delay the
               peaceful transfer of power.” But the transition has come and gone,
               and that threat has long passed. In the district court, the government
               warned of an upcoming protest scheduled for March 4. But that
               protest never materialized, and the government produced no evidence
               that Munchel and Eisenhart had been involved in its planning before
               their arrest. The government's gesturing towards the possibility of


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               their joining future protests falls well short of any “identified and
               articulable threat.”

Munchel, 991 F.3d at 1287-88 (emphasis added). While perhaps a minor point, the Court noted that

Mr. Rehl was seen “smoking what might be a victory smoke.” However, that assessment ignores

that Mr. Rehl is a smoker, who can be seen smoking cigarettes throughout the day. And the

protective goggles are standard gear used by Proud Boys during past rallies as they often find

themselves under attack by counter protesters. Such protective eye wear is recommended by medical

associations and Amnesty International for those attending protest rallies in the 21st Century.29

       B.      Weight of the Evidence Against the Defendant

       As all the newly produced facts show, the weight of the evidence against Mr. Rehl does not

support detention. There is no evidence that he planned an attack on the Capitol, much less a violent

attack. As the Government has conceded, Mr. Rehl did not injure or attempt to injure anyone. He

did not damage or attempt to damage any property. He is alleged to have entered the Capitol long

after the Capitol was breached. His entry was not forcible and he entered along with hundreds of

other persons who have not been charged with felonies. His alleged entry was after the proceedings

had been suspended and Vice President Pence had left the Capitol.

       C.      History and Characteristics of the Defendant

       The Court has already found that Mr. Rehl’s history and characteristics favor release. While


29
   “A guide to protecting your eyes and vision while protesting” 7/9/2020 (“In recent weeks, protests
against racial injustice have spread across the country and around the world. So has the use of rubber
bullets and tear gas to control crowds. The American Academy of Ophthalmology (AAO)
recommends that protesters put on protective eyewear — beyond regular eyeglasses or sunglasses
— made with shatter-resistant polycarbonate lenses to shield them against threats like rubber bullets
and tear gas. . . .Amnesty International recommends a number of precautions to take before you head
out to protest, including a number of safety measures to protect your eyes.” at
https://www.allaboutvision.com/eye-safety/protest-eye-protection/

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in the Marine Corps, he received a Good Conduct medal along with other commendations. He also

has a history of community service. In further support of this factor, Mr. Rehl hereby submits letters

from his wife and three friends, all fellow veterans, who speak highly of Mr. Rehl’s character and their

firm conviction that he does not present a danger to the community. This additional information is

submitted in light of the fact that a number of judges including Judges Bates and Mehta have granted

release primarily based on the history and characteristics of the defendant in cases where defendants,

unlike Mr. Rehl, have engaged in acts of violence, battled police and destroyed property.

        In addition, the fact that Mr. Rehl has a one-year old daughter, who was born after he was

arrested should also weigh heavily in favor of his release. Indeed, even after conviction, family

circumstances including the effect of incarceration on a young child are factors that a court must take

into consideration under 18 U.S.C. § 3553(a)(1). See, e.g. Rita v. United States, 551 U.S. 338, 364-

65 (2007) (family ties proper consideration under § 3553(a)); In Re Sealed Case, 292 F.3d 913 (D.C.

Cir. 2002) (same).30 As a parent, it is heartbreaking to consider the loss being suffered by Mr. Rehl’s

infant daughter as a result of her separation from her father at such a significant and tender age.

Medical literature reflects that infants and toddlers who are unable to form attachments with a parent

suffer long-term consequences and deficits for the child.31



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      United States v. Johnson, 964 F.2d 124, 129 (2d Cir.1992) (“The rationale for a downward
departure here is not that [the defendant's] family circumstances decrease her culpability, but that we
are reluctant to wreak extraordinary destruction on dependents who rely solely on the defendant for
their upbringing.”). United States v. Schroeder, 536 F.3d 746, 756 (7th Cir. 2008) (The defendant's
responsibility for the adverse effects of his incarceration on his family is not the determinative issue.
If it were, there would never be an occasion on which the court would be justified in invoking family
circumstances to impose a below-guidelines sentence.)
31
  See, e.g., Developmental Effects of Parent–Child Separation, Annual Review of Developmental
Psychology at https://www.annualreviews.org/doi/10.1146/annurev-devpsych-121318-085142

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His best friend, Sonny Sullivan writes:

       I'm a Marine Corp veteran and proud father. Zach has been my best
       friend for over 15 years. The only things he has wanted to do is
       provide for his daughters and family. From when he joined the
       Marines to get his act together and then again when he took on
       college so he could attempt to get a career worth having to be able to
       give his family the life he wants for them. I've watched him look out
       for countless friends unselfishly over the years; at times even at a high
       cost to himself. He no longer wants anything to do with politics or
       any political organizations of any kind. His character is one of
       honesty, trustworthiness, and kindness. I understand the allegations he
       faces are serious. But if your honor considers bail, I know one
       hundred percent, without a shadow of a doubt that he will abide by
       ANY and ALL restrictions to the letter. I know for a fact he wants
       nothing more than to just be able to be home with his wife and
       daughters, and there wouldn't be anything on this planet that would
       make him want to jeopardize that.

Another fellow Marine veteran, Henry McGill also writes of Mr. Rehl’s good character:

       I served in the United States Marine Corps with Mr. Rehl, whom I
       met while a part of a detachment in Yuma, Arizona in 2010. I was
       discharged in 2012 and afterwards decided to attend Temple
       University in Philadelphia, PA. Mr. Rehl had made the same decision
       and it was a brilliant twist of fate when I reunited with him on campus.
       I was new to the city, and Mr. Rehl was instrumental in helping me to
       adjust to Philadelphia. He’s been a tremendous source of inspiration
       and motivation throughout our time knowing each other.

       I can speak to his business acumen and community outreach. In 2014
       Zach co-owned a Bar and Grill named Bada Bing which revitalized a
       section of Orthodox Street. He created an atmosphere that was
       inclusive of all the surrounding areas, and that brought many people
       together peacefully who would never mingle otherwise. He provided
       much needed jobs for the local community which cannot be
       understated.

       I can speak to his perseverance and dedication to education and
       improvement. I know that Zach completed his course of study while
       I was there at Temple University. I left in 2017 and Zach was
       continuing on to his Master’s Degree - which he attained. As a
       veteran, I appreciate that type of work.


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       I look forward to hearing what Mr. Rehl has learned from his
       experience. I think he should be afforded the opportunity to post bail
       due to his service to this Country.

A third friend, Jonathon Nguyen, a Navy Veteran writes:

       I am writing on behalf of my long time friend, Zach Rehl that he may
       be granted bail.

       Zach has been a great Marine, friend and human being. He has always
       helped others when they needed him. This is the person that would
       give a stranger the shirt off his back. When I was having hardships in
       my life, Zach was there and helped me get through it.

       In addition to our friendship, Zach is an outstanding citizen. He
       believes in the justice system and law enforcement. Zach has always
       done his best to have his life together. He recently became a father and
       it breaks my heart that he can't be there with his child, as an expecting
       father myself it pains me to see this.

       I am sincerely hoping that the court takes this letter into consideration.
       Zach has too many things going for him from the outside world. I
       don't think he would ruin any chance that he is given. Despite the
       circumstances, I do believe Zach Rehl is a great and honest person.

His wife, Amanda Rehl has also written of Mr. Rehl’s good character.

               Zachary and I have been together for over 10 years and
       married since May 5, 2018. Together we have a 1-year old daughter
       and he has a 17 year old daughter from a previous relationship, who
       under different circumstances lives at our home with us. Since I have
       known him, Zachary has prioritized being a father and, even when
       stationed across the country during his time in the Marine Corps, had
       his daughter fly out to visit him often. At this current time, he has not
       seen his 17 year old daughter since his arrest and has been unable to
       ever hold his infant daughter or be a participant in her life.

       When speaking of his character, he is a friendly person with good
       morale who has always made a point to be there for and helpful
       toward others. He is a family man who has a close relationship with
       his mother, stepfather, his brother, and my parents. Zachary isn’t a


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               violent or hostile person and does not seek out conflict with others.
               With having known him for over 10 years, with utmost certainty I can
               say he is one of the most genuine people I have ever met and that the
               allegations against him do not define who he is as a person.
               ...
               The reason I am writing you is pertaining to the possibility of bail and
               your decision toward that. If you were to grant him bail, I, as his wife,
               would ensure that he would uphold any conditions for release that you
               see fit. At the moment, I am a full time stay at home mom who is
               taking online classes. Were Zachary to be released and it were under
               home confinement with certain stipulations, I would consistently be
               present in our home to ensure that those conditions were followed. I
               would also guarantee his attendance to all court dates. In speaking
               with my husband, he has expressed in having no contact with the
               Proud Boys which is also something that I would make sure was
               upheld.

               If Zachary were to be granted bail, he would use his release to be a
               father to his daughters, to spend time with his family, and to ease the
               burden on me of tending to our household alone. With release, he
               would also be able to continue his treatment with the VA. Since his
               arrest, Zachary has been off medications that he has been on since
               2012 because the Philadelphia detention center does not treat his
               medical issues.

       4.      Nature and Seriousness of the Danger to Any Person or the Community

       While the Court found this factor favors detention, the Court’s analysis is difficult to square

with the requirement that the government prove by clear and convincing evidence an articulable

prospective risk. The new evidence herein presented to the Court should tip the balance in favor of

release. Mr. Rehl has no history of violence and did not use violence on January 6. He has

participated in dozens of rallies throughout his life and has never been involved in any violent or

disorderly conduct. He has supported law enforcement throughout his life. He served his country



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honorably, receiving various commendations and having suffered a medical disability as a result.

Thus, the allegations brought against him are an aberration that contrast his otherwise law-abiding

and productive life. He is not so well known as a Proud Boy that there is any risk that he would be

to foment a violent rally. To the extent the Court noted that Mr. Rehl had shown no remorse, Mrs.

Rehl’s letter indicates that he is indeed remorseful and intends to distance himself from the Proud

Boys.

        Judge Bates’ analysis of this factor in a recent case where the defendant’s conduct was much

more egregious bears quoting:

               The government has shown by clear and convincing evidence that he
               employed persistent force against multiple officers, repeatedly
               pressing a stolen riot shield against them to gain entry into the Capitol
               building and stop the certification of the election. And the
               government has likewise established that he chose to position himself
               at the front lines of the mob for over half an hour, without once
               appearing to reconsider the propriety or ramifications of his conduct
               even as officers commanded him to stop. There is no evidence,
               however, that he injured an officer or anyone else, or that he
               destroyed any federal property – or that he sought to do either. He
               also has not, to the government's knowledge, ever verbally threatened
               others or advocated political violence either before or after January 6.
               Indeed, Klein’s life otherwise has been lawful, and the nearly two
               months he spent outside of jail between January 6 and his arrest on
               March 4, when the continued threat to our democracy loomed
               particularly large, apparently proceeded without incident.
               ...
               Of course, any determination of dangerousness must rest on the
               specific circumstances of each defendant. “[W]hether a defendant
               poses a particular threat depends on the nature of the threat identified
               and the resources and capabilities of the defendant.”). But where so
               much of the proffered justification for Klein's detention relies on the
               type of force he employed, the Court sees some relevance in the fact
               that several defendants who also face charges under § 111(b) for
               assaulting officers and did not engage in planning activities were
               released without objection from the government. See United States v.
               Leffingwell, 21-CR-5 (D.D.C.) (defendant repeatedly punched officer


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     with closed fist in attempt to push past wall of officers); Statement of
     Facts (Jan. 18, 2021), ECF No. 1-1 & Min. Entry (Jan. 19, 2021),
     United States v. Gossjankowski, 21-CR-123 (D.D.C.) (defendant
     activated taser within tunnel multiple times as he pushed towards the
     police line); Statement of Facts (Feb. 9, 2021), ECF No. 1-1 & Min.
     Entry (Feb. 17, 2021), United States v. Blair, No. 21-CR-186
     (D.D.C.) (defendant struck an officer in the chest with a lacrosse
     stick).10 To be sure, these cases do not entail the same duration of
     force employed by Klein, but, on the other hand, they do appear to
     involve actions intended to injure or incapacitate officers.

     The broad divisions drawn in Munchel offer some parameters for
     differentiating among participants at the January 6 events. But
     ultimately the D.C. Circuit's primary holding there is that a finding of
     dangerousness must be predicated on a concrete determination that
     the defendant poses a continued, “identified and articulable threat to
     the community” or to another person. As part of that analysis, the
     D.C. Circuit advised the district court to consider “the specific
     circumstances that made it possible, on January 6, for [the defendant]
     to threaten the peaceful transfer of power.” In this respect, this Court
     finds that “the presence of the group” somewhat impacted Klein's
     “ability to obstruct the vote and to cause danger to the community.”
     Id. His most forceful conduct was directed to advancing and
     maintaining the mob's position in the tunnel, not toward inflicting
     injury, and outside that context, the nature of his actions and the force
     that he employed would not have had the same effect.

     Although the government emphasizes Klein's “choice to use violence
     as a means to his ends” as evidence that he “poses a threat regardless
     of the unique circumstances of January 6, 2021,” it does not articulate
     any concrete “end[ ]” or “threat,” now that “the transition [of power]
     has come and gone.”(Katsas, J., concurring in part and dissenting in
     part); see id. at 1284 (Wilkins, J.) (explaining that defendants’
     purported “danger to ‘act against Congress’ ” required additional
     justification). Indeed, while security threats around the Capitol are
     always present, the specific concerns in the wake of the January 6
     events over future protests and violent attacks on the government—on
     January 20, March 4, and otherwise—have dissipated to some degree
     now three months later, even though troops and defenses remain
     present. See id. As the majority emphasized in Munchel, the threat to
     public safety must be continuing and prospective. Id. at 1279-80.
     ...
     The law requires reasonable assurance, but does not demand absolute


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                certainty’ that a defendant will comply with release conditions because
                a stricter regime ‘would be only a disguised way of compelling
                commitment in advance of judgment.’ ” This decision is not an easy
                one, but, in the absence of a concrete, prospective threat to public
                safety that cannot be mitigated by strict conditions, this Court must
                apply “the default rule favoring liberty.” “In our society liberty is the
                norm, and detention prior to trial or without trial is the carefully
                limited exception.”.

Klein, 533 F.Supp.3d 1, 17-20 (D. D.C. 2021) (internal citations omitted; cleaned up).

                                   CONDITIONS OF RELEASE

        The Magistrate Judge, who first heard this case, released Mr.              Rehl on conditions

recommended by Pretrial Services. Those conditions and even more stringent home incarceration

with electronic monitoring may be imposed by the Court. The Court also may prohibit Mr. Rehl

from entering the Capitol grounds, attending any type of political protest, contacting other

participants in the events of January 6, and possessing firearms or other weapons. And his compliance

with these conditions can be ensured through GPS monitoring.

        The Court should also take into account that Mr. Rehl’s medical needs are not being

adequately treated while detained.32 In addition to medications that had been prescribed by the

Veterans Administration that are not being provided to him, part of his medical disability is the result

of a shoulder injury that he sustained while in the service. Needless to say, prison cots are quite

detrimental to this particular medical disability.




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   He was awarded a medical disability by the Veterans Administration. Any details of Mr. Rehl’s
medical history will be provided to the Court under seal, to the extent the Court wishes to go behind
the disability rating determined by the VA.

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                                           CONCLUSION

        For all these reasons, and any that may become apparent at a hearing on this matter, Mr. Rehl

respectfully submits that the Government has failed to meet its burden by clear and convincing

evidence that he presents a risk of danger to society in light of all the recent additional evidence that

submitted herein. Wherefor, he respectfully requests that this Honorable Court release him on high

intensity supervision and conditions the Court deems necessary.

                                                        Respectfully submitted,

                                                        /s/ Carmen D. Hernandez
                                                        Carmen D. Hernandez
                                                        Bar No. MD 03366
                                                        7166 Mink Hollow Rd
                                                        Highland, MD 20777
                                                        240-472-3391
                                                        chernan7@aol.com



                                    REQUEST FOR HEARING

        Mr. Rehl respectfully requests a hearing on this matter.

                                  CERTIFICATE OF SERVICE

      I hereby certify that the instant notice was served on all counsel of record 15th day of June,
2022 on all counsel of record via ECF.




                                                        /s/ Carmen D. Hernandez
                                                        Carmen D. Hernandez




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